Case 2:04-cr-20358-SH|\/| Document 64 Filed 05/17/05 Page 1 of 2 Page|D 79

IN THE UNITED STATES DISTRICT COURT N£DHLW…
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

 

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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04-20358#Ma

VS.

ALFONZO MITCHELL,

`_/`_/~_/\__/\_/~_/~._/\/~__/

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a suppression hearing on April 20,
2005. At the conclusion of the hearing, defense counsel requested
a continuance amf the present trial date ill order~ to allow for
additional preparation in the Case.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 31, 2005 at 2:00 p.m.

The period fronl April 20, 2005 through_ June l7, 2005 is
excludable under 18 U.S.C. § 3l6l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this "7| ` day of May, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 64 in
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Honorable Samuel Mays
US DISTRICT COURT

